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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 AUSTIN FLANAGAN                           :       CIVIL ACTION
            Plaintiff,                     :
                                           :
                   v.                      :
                                           :
 NX UTILITIES, LLC, et. al.                :       NO. 5:21-491
             Defendant.                    :

                                           ORDER

        AND NOW, TO WIT: This 24th day of May, 2021 it having been reported that the issues
between the parties in the above action have been settled and upon Order of the Court pursuant
to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court (effective
July 1, 1995), it is

        ORDERED that the above action is DISMISSED with prejudice, without costs, pursuant
to the agreement of counsel.


                                               KATE BARKMAN
                                               Clerk of Court


                                     BY:       /s/ Donna Marie Croce
                                               Donna Marie Croce
                                               Deputy Clerk to the
                                               Honorable Timothy R. Rice
                                               U.S. Magistrate Judge
